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                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                           NOV 15 2021
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
SHANNON CARTER,                                    No. 20-17442

                   Plaintiff-Appellee,             D.C. No. 2:17-cv-01628-RFB-EJY
                                                   District of Nevada, Las Vegas
 v.
                                                   ORDER
SCHERRIE BEAN; et al.,

                   Defendants-Appellants,

and

ROMEO ARANAS; L. STEWART,

                   Defendants.

         Appellants have notified the court that they do not intend to prosecute this

appeal (Docket Entry No. 11). Accordingly, the appeal is voluntarily dismissed.

See Fed. R. App. P. 42(b).

         This order served on the district court shall act as and for the mandate of this

court.

                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT


                                                    By: Lance C. Cidre
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7

LCC/MOATT
